Case 2:20-cv-00283-JRG Document 93 Filed 07/12/21 Page 1 of 12 PageID #: 3173




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

 JAPAN DISPLAY INC., PANASONIC                      §
 LIQUID CRYSTAL DISPLAY CO., LTD.,                  §   C.A. NO. 2:20-cv-00283-JRG
                                                    §   [LEAD CASE]
        Plaintiffs,                                 §
                                                    §   C.A. NO. 2:20-cv-00284-JRG
 v.                                                 §   C.A. NO. 2:20-cv-00285-JRG
                                                    §   [MEMBER CASES]
 TIANMA MICROELECTRONICS CO.                        §
 LTD.,                                              §
                                                    §   JURY TRIAL DEMANDED
         Defendant.                                 §
                                                    §


      JOINT STATUS REPORT REGARDING PLAINTIFFS’ AND DEFENDANT’S
                    RESPECTIVE MOTIONS TO COMPEL

       Pursuant to the Court’s Order issued during the hearing held on June 21, 2021 (see Dkt.

No. 76), plaintiffs Japan Display Inc. (“JDI”) and Panasonic Liquid Crystal Display Co., Ltd.

(“PLD”) (collectively, “Plaintiffs”) and defendant Tianma Microelectronics Co. Ltd. (“Tianma

Microelectronics” or “TMC”) (hereinafter the “Parties”) file this Joint Status Report related to

Plaintiffs’ Motion to Compel Invalidity Contentions and Accompanying Technical and Sales

Information, and to Strike Defendant’s Deficient Eligibility Contentions (Dkt. No. 49) and

Defendant’s Motion to Compel Plaintiffs to Produce Relevant Information in Plaintiffs’ Sole

Possession (Dkt. No. 64).

       For Plaintiffs’ Motion to Compel, the Parties agreed that:

       1. Tianma Microelectronics would produce sales data for all LTPS and
          Amorphous Silicon Products based on the unique product code
          combinations for the “Product Process Code” and “Product Technology
          Code” digits that have been disclosed in Plaintiffs’ list of Accused
          Products since August 31, 2014, i.e., the list of Accused Products in
          Plaintiffs’ January 6, 2021 Preliminary Infringement Contentions less
          those products dropped by Plaintiffs’ letter of June 11, 2021;


                                                1
US 8123116
Case 2:20-cv-00283-JRG Document 93 Filed 07/12/21 Page 2 of 12 PageID #: 3174




       2. To the extent certain “custom” products that may not follow the same
          naming convention understood by the Parties exist, the Parties would
          work in good faith to identify reasonably similar “custom” products
          based on similar criteria to those identified above;

       3. Tianma Microelectronics would produce documentation sufficient to
          show the operation of any aspects or elements of an Accused
          Instrumentality (“Core Technical Documents”) in its possession for all
          the products for which it has or will produce sales data for 1 and 2
          (above), where the sales data shows a ship-to or invoice-to U.S. address
          (e.g., either in the Receiving Address or Acquiring Address columns);
          and

       4. Tianma Microelectronics would produce Core Technical Documents in
          its possession for products where Plaintiffs identify through sworn
          testimony or documents showing these specific products were
          eventually sold in the U.S. since August 31, 2014.

       The Parties were at an impasse regarding whether Tianma Microelectronics’ wholly-owned

subsidiaries, Tianma America, Inc. (“TMA”) and Tianma Japan, Ltd. (“TMJ”), should be required

to produce sales data and technical documents in their possession. The Court ordered TMA to

produce the outstanding discovery items. For TMJ, the Court directed that discovery related to

the relationship between Tianma Microelectronics and TMJ go forward and ordered a deposition

of a corporate representative of TMJ, but also provided that written discovery could be used to the

extent the parties agree thereto.

       For Defendant’s Motion to Compel, the Parties were at an impasse regarding Defendant’s

request for Plaintiffs to produce technical and sales information for prior art products, and technical

and sales information relating to a reasonable royalty analysis that would require Plaintiffs to

analyze all of their own past and present products to identify those products that incorporate

features claimed in the Asserted Patents and those that do not. The Court ordered Plaintiffs to

produce documents related to the ten JDI products and one Panasonic product identified in

Defendant’s invalidity contentions but left Defendant’s Motion open otherwise.



                                                  2
US 8123116
Case 2:20-cv-00283-JRG Document 93 Filed 07/12/21 Page 3 of 12 PageID #: 3175




I. STATUS OF AGREED-UPON PRODUCTION OF SALES DATA AND CORE
   TECHNICAL DOCUMENTS BY TIANMA MICROELECTRONICS

        On June 28, 2021, Tianma Microelectronics produced updated sales information for its

products meeting the product code combination agreed upon by the Parties.                               See

TIANMAMICRO0007607-08.

        Plaintiffs’ Position:

        Plaintiffs are in the process of reviewing the sufficiency of this updated sales information.

However, recent deposition testimony from Tianma Microelectronics has revealed that the sales

data contains “some discrepancy” such that it does not “reflect the final locations where [Tianma

Microelectronics] handed the products” and that Tianma Microelectronics’ ERP [Enterprise

Resource Planning] sales database does not contain “detailed or specific information” regarding

where Tianma Microelectronics ships any of its products. Apparently the shipping information

that is presented in the sales data reflects some “different understanding,” but Tianma

Microelectronics has not been forthcoming as to what this “different understanding” is. Plaintiffs’

agreement to resolve its motion to compel relied on the accuracy of Tianma Microelectronics’

representations in its sales data and, to the extent this sales data is faulty, Plaintiffs reserve the right

to re-urge its motion or otherwise seek the Court’s assistance. In particular, this deposition

testimony also revealed that Tianma Microelectronics possesses sales information related to

Tianma Microelectronics’ U.S.-based customers, including purchase orders, supply agreements,

and customer’s technical parameters and specifications, that are responsive to Plaintiffs’ requests

for production and could provide clarity to its sales data spreadsheets. Plaintiffs identified these

specific deficiencies in a letter to Defendant on July 2, 2021, and have yet to receive a response.

Tianma Microelectronics’ counsel’s representation (below) that its sales data is actually over-

inclusive does not comport with Tianma Microelectronics’ deposition testimony. Nor has Tianma


                                                     3
US 8123116
Case 2:20-cv-00283-JRG Document 93 Filed 07/12/21 Page 4 of 12 PageID #: 3176




Microelectronics produced any documents that would support this contention.                 Tianma

Microelectronics’ promise to produce “purchase orders received from Tianma America,” but that

sales information alone is deficient because Tianma Microelectronics has agreements with other

customers who may be sending products into the U.S., but not through TMA.

       Tianma Microelectronics’ technical document production remains deficient. The updated

sales information shows that at least 397 products were “received by” or “acquired by” an entity

with a U.S. address since August 31, 2014. Tianma Microelectronics has not produced GDS files

(i.e., physical layout schematics) for more than one quarter (119) of these products. Tianma

Microelectronics has also failed to produce any additional technical documents for these 397

products beyond the GDS files themselves. Tianma Microelectronics argues that it is waiting for

a “list of specific technical issues” from Plaintiffs, but during the meet and confer, Plaintiffs

specifically objected to Tianma Microelectronics only producing GDS files and the Parties

ultimately agreed that Tianma Microelectronics would produce “documents sufficient to show the

operation of any aspect or elements of an Accused Instrumentality” as defined by P.R. 3-4(a) (e.g.,

source code, specifications, schematics, flow charts, artwork, formulas, etc.). During the hearing,

Tianma Microelectronics agreed with Plaintiffs summary of the Parties agreements, and

specifically that Tianma Microelectronics will “provide technical documents and GDS files.”

       Defendant’s Position:

       Pursuant to the parties’ agreement prior to the hearing, TMC has produced, on June 28,

2021, sales records for 4,476 additional products since August 31, 2014. The sales records indicate

381 additional products having either a U.S. shipping or invoice address record or both. Pursuant

to the parties’ agreement, on July 2, 2021, TMC produced 104 additional GDS files corresponding

to these products. This represents all GDS files which can be located following a reasonable search.



                                                 4
US 8123116
Case 2:20-cv-00283-JRG Document 93 Filed 07/12/21 Page 5 of 12 PageID #: 3177




       In a deposition on June 30, 2021, TMC’s corporate witness testified that the shipping

addresses field in the sales records TMC produced do not necessarily describe the address where

the corresponding sale was actually delivered. This is not a “discrepancy” or an “inaccuracy.”

TMC produced an Excel output of the data from its company-wide ERP (Enterprise Resource

Planning) system, as it is stored in the ordinary course of business. Defendant TMC does not handle

product shipping. Other entities, such as TMC’s Chinese subsidiaries, ship TMC products and

provide sales data, which may or may not include the actual shipping addresses, to TMC. TMC

recognizes Plaintiffs’ concern regarding the shipping addresses produced from TMC’s database.

TMC is investigating whether the subsidiaries maintain a record of the actual shipping address of

each sale but currently understands that 1) any sale that was actually delivered by TMC or its

Chinese subsidiaries to a U.S. address would have a U.S. shipping address in the ERP system; 2)

any sale that has a non-U.S. shipping address in the ERP records was indeed not delivered to the

U.S.; and 3) a sale that has a U.S. shipping address in the ERP records may or may not have been

delivered by TMC or any of the Chinese subsidiaries to a U.S. address. Thus, TMC’s reliance on

the sales data has resulted in overinclusive identification of U.S. sales and production of technical

documents. That is, TMC over identified sales as U.S.-bound and over produced technical

documents. Regarding the other issues Plaintiffs identify in their letter (purchase orders, supply

agreements, and customer’s [sic] technical parameters and specifications), even though these items

are not properly part of the motion to compel, and their relevancy to this case questionable, TMC

is working to identify and produce purchase orders received from Tianma America.

       Regarding Plaintiffs’ request for “Core Technical Documents,” Plaintiffs had indicated

during the June 21 meet and confer that they would be providing TMC with a list of specific

technical issues for which they requested additional technical information. Plaintiffs have not yet



                                                 5
US 8123116
Case 2:20-cv-00283-JRG Document 93 Filed 07/12/21 Page 6 of 12 PageID #: 3178




provided such a list, but TMC remains willing to provide a reasonable volume of technical

documentation beyond the GDS files it has already produced to comply with its discovery

obligations and agreements at the June 21 hearing.

       TMC is also in the process of identifying any products it made for TMJ and will collect

and produce relevant documents in its possession for any of those products that were sold to the

U.S.

II. STATUS OF ORDERED PRODUCTION OF OUTSTANDING DISCOVERY
    REQUESTS BY TIANMA AMERICA, INC.

       Plaintiffs’ Position:

       On Friday, July 9, 2021, TMA made a production in response to the Court’s Order. See

TMAEDTX000904-6021. Plaintiffs are in the process of reviewing this production.

       Defendant’s Position:

       Tianma America has been working diligently to collect and produce both sales data and

technical data. On July 9, 2021, it produced 220 technical specifications, and 21,659 rows of sales

data from its sales records databases. Tianma America is working to continue to locate additional

data for production.

III. STATUS OF ORDERED DEPOSITION OF TIANMA JAPAN LTD.’S CORPORATE
     REPRESENTATIVE

       Tianma Microelectronics has not made a corporate representative available to Plaintiffs for

deposition.

       Plaintiffs’ Position:

       Mindful of the Court’s instruction that this deposition should “happen sooner rather than

later,” Plaintiffs have diligently requested dates for a deposition of TMJ’s corporate representative

since June 23, but have received none. Tianma Microelectronics’ last communication on this issue

dated June 29 stated that “[i]t is simply not reasonable to conduct a deposition at this time.” It is

                                                 6
US 8123116
Case 2:20-cv-00283-JRG Document 93 Filed 07/12/21 Page 7 of 12 PageID #: 3179




true that Plaintiffs inquired into whether Tianma Microelectronics would agree to take all

depositions of all witnesses (including JDI’s witnesses) located in Japan by written questions, but

Tianma Microelectronics never responded to this preliminary inquiry. Consistent with the Court’s

order, Plaintiffs are making their deponents available for deposition and believe TMJ should do

the same. Plaintiffs have provided proposed dates for Tianma Microelectronics to depose two

Japanese inventors and JDI’s corporate representative in Dallas on August 2, 3, and 5, respectively.

       JDI disagrees with Tianma’s statement that “Plaintiffs [] refused to produce any of their

own witnesses from Japan for depositions for the same reason” “for 4 months.” Just over one

month ago, on June 2, Tianma Microelectronics served deposition notices for two inventors

seeking claim construction discovery and set the deposition for June 14 (two days before the close

of claim construction discovery). Plaintiffs were unable to make the inventors available on such

short notice before the deadline to complete claim construction discovery. Since that time, Tianma

has renewed its request for inventor depositions for its invalidity case. Tianma Microelectronics

served a 30(b)(6) notice on June 14. Plaintiffs have proposed dates for all three depositions and

are waiting on Tianma to confirm.

       Defendant’s Position:

       Pursuant to the Court’s order, the parties have been discussing a deposition of a TMJ

witness. But because of the Covid restrictions and particularly the recently declared state of

emergency in Japan1 , a deposition is near impossible. For 4 months, Plaintiffs had refused to




1
  With the Olympics approaching, Japan has recently reinstated a state of emergency in Tokyo in
view of the spreading Delta variant. The Japanese Ministry of Foreign Affairs currently imposes a
two-week quarantine on all international travelers including returning Japanese citizens, and
requires a negative Covid test, so any travel outside of the country is likely to result in nearly three
weeks away from work and family. See https://www.mofa.go.jp/ca/fna/page4e_001053.html
(Section 3 “Quarantine Measures (New)”).

                                                   7
US 8123116
Case 2:20-cv-00283-JRG Document 93 Filed 07/12/21 Page 8 of 12 PageID #: 3180




produce any of their own witnesses from Japan for depositions for the same reason. Indeed, on

July 2, 2021, Plaintiffs proposed to conduct depositions of both sides’ Japanese witnesses by

written discovery in lieu of an oral deposition. Defendant’s counsel had been consulting with

Defendant and was about to accept that proposal. But, a few days later, on July 8, Plaintiffs

rescinded their proposal and informed Defendant that they intended to move ahead with live

depositions. In their latest communication, Plaintiffs provided tentative deposition dates in

August“[b]arring any unforeseen international travel or health issues” for their witnesses from

Japan. Defendant is not aware of any change of restrictions that permit the Japanese witnesses to

travel and attend depositions in the near term. But on Plaintiffs’ apparent belief a belief that may

very well be mistakenthat the circumstances would change and permit such travels in August,

Defendant will try to secure a date for deposition in the same time frame for a TMJ witness, if not

sooner.

IV. STATUS OF PLAINTIFFS’ PRODUCTION REGARDING DEFENDANT’S MOTION
    TO COMPEL

          On June 25, 2021, Plaintiffs produced technical files related to nine of the ten JDI products

identified by product number in Tianma Microelectronics’ Invalidity Contentions.                   See

JDI0006811-10563. On June 30, 2021, Plaintiffs produced GDS files and accompanying layer

maps for all ten JDI products. See JDI-SC00001-28. Plaintiffs have not produced technical

documents related to the one Panasonic product.

          Plaintiffs’ Position:

          Plaintiffs have complied with the Court’s Order by providing technical files related to

Plaintiffs products identified by product number in Tianma Microelectronics’ Invalidity

Contentions. Specifically, JDI has produced GDS files and other technical documentation for each

identified product, except for TX54D11VC0CAB.                Tianma Microelectronics produced a

                                                   8
US 8123116
Case 2:20-cv-00283-JRG Document 93 Filed 07/12/21 Page 9 of 12 PageID #: 3181




screenshot from a third-party website indicating that this product was sold in 2004 by JDI, but JDI

was not formed until 2011. Accordingly, TX54D11VC0CAB is not a JDI product. Similarly,

PLD was unable to locate any information about the one identified product for it. Tianma

Microelectronics produced a screenshot from the same third-party website indicating that TR-

LM7WR3PS was sold in the second quarter of 2004 by Panasonic, but PLD did not exist at that

time. The screenshot also indicates that TR-LM7WR3PS is a TN-type LCD panel, which PLD

does not manufacture. Accordingly, TR-LM7WR3PS is not a PLD product.

        Plaintiffs also performed a reasonable search for technical documents related to products

identified by Tianma Microelectronics in its Invalidity Contentions that were purportedly

manufactured by Sony or Toshiba. Plaintiffs have produced the GDS files and related technical

files for those products that were located. See JDI-SC000029-53; JDI0010595-40794. That is,

Plaintiffs have produced every technical document that was located after a reasonable search

related to the specific products identified in Defendant’s Invalidity Contentions.

        Tianma Microelectronics’ position (below) vastly expands the Court’s Order and ignores

the Court’s instruction that Tianma Microelectronics should first review the documents regarding

the nine JDI products. Plaintiffs have already taken the next step by providing all documents in

its possession related to the Sony and Toshiba products identified by Tianma Microelectronics.

Tianma Microelectronics, however, argues as if the Court granted its motion to compel in its

entirety. Plaintiffs maintain their position that they should not be required to analyze every single

one of their past, present, and future products to determine, in the first instance, “those products

that implement claimed features vs. those that do not.” Plaintiffs believe this request is overly

broad and unduly burdensome given that Plaintiff is not relying on any of their products for the

case.



                                                 9
US 8123116
Case 2:20-cv-00283-JRG Document 93 Filed 07/12/21 Page 10 of 12 PageID #: 3182




       Defendant’s Position:

       Plaintiffs appear to believe that the Court’s order of the production of the GDS files for the

10 JDI products was all that it was required to do. That is not true. TMC’s motion to compel asked

for discovery on all prior sales as well as discovery on current products that is highly relevant to a

reasonable royalty analysis, for example, information on those products that implement claimed

features vs. those that do not.

       Plaintiffs remain woefully deficient in their production responsive to TMC’s motion to

compel. To begin with, Plaintiffs have refused to produce a single document on any of their current

products. During the meet and confer prior to the June 21 hearing TMC discussed a potential

compromise which was memorialized by email on June 23. TMC proposed that the parties agree

on the patented features of the 15 asserted patents, and then Plaintiffs produce documents for both

products with and products without these features. Such documents would allow Defendants to

determine the appropriate value Plaintiffs afforded to the patented features. Plaintiffs ignored this

proposal and did not even propose an alternative.

       Regarding prior art products, Plaintiffs’ production is also deficient. Plaintiffs have not

produced any sales data, which is relevant to the determination of any products that were sold

before the asserted patents. Such information is not public and can only be obtained from Plaintiffs.

Of the products TMC was able to gather from public sources and identify in its invalidity

contentions, Plaintiffs have produced only ten GDS files for JDI products and seven GDS files for

Sony prior art products. Panasonic has produced not a single additional document of any kind.

TMC’s initial review (still ongoing) suggests that Plaintiffs are very likely in possession of

additional prior art material. Aside from the 17 GDS files and some non-GDS files apparently for

those products, Plaintiffs produced discovery for not a single one of the 125 Toshiba products



                                                 10
US 8123116
Case 2:20-cv-00283-JRG Document 93 Filed 07/12/21 Page 11 of 12 PageID #: 3183




(note: Toshiba Display became part of JDI in 2012) TMC identified, nor any discovery on prior

art products that are similar to those identified in TMC’s invalidity contentions. On Friday July 9,

2021, Plaintiffs produced several thousand pages of documents, which Plaintiffs represented are

related only to the identified Toshiba and Sony prior art products. TMC’s motion to compel

remains ripe for resolution by the Court.



Dated: July 12, 2021                              Respectfully submitted,


 /s/ Aidan C. Skoyles (with permission)           /s/ Eric J. Klein
 James R. Barney (pro hac vice)                   Eric J. Klein
 james.barney@finnegan.com                        Lead Attorney
 Qingyu Yin (pro hac vice)                        Texas State Bar No. 24041258
 qingyu.yin@finnegan.com                          Jeffrey R. Swigart
 Aidan C. Skoyles (pro hac vice)                  Texas Bar No. 24102553
 Aidan.skoyles@finnegan.com                       VINSON & ELKINS L.L.P.
 FINNEGAN LLP                                     2001 Ross Avenue, Suite 3900
 901 New York Avenue N.W.                         Dallas, TX 75201
 Washington, DC 20001                             Telephone: (210) 220-7700
 Telephone: (202) 408-4000                        Facsimile: (210) 220-7716
 Facsimile: (202) 408-4400                        Email: eklein@velaw.com
                                                  Email: jswigart@velaw.com
 Eric H. Findlay
 State Bar No. 00789886      Hilary L. Preston
 Brian Craft                 Texas State Bar No. 24062946
 State Bar No. 04972020      Jeffrey T. Han
 FINDLAY CRAFT, P.C.         Texas State Bar No. 24069870
 102 N. College Ave., Suite 900
                             Erik Shallman
 Tyler, TX 75702             Texas State Bar No. 24113474
 Telephone: (903) 534-1100   Matthew J. Melancon
 Facsimile: (903) 534-1137   Texas State Bar No. 24109544
 efindlay@findlaycraft.com   VINSON & ELKINS L.L.P.
 bcraft@findlaycraft.com     2801 Via Fortuna, Suite 100
                             Austin, TX 78746
 ATTORNEYS FOR DEFENDANT     Telephone: (512) 542-8400
 TIANMA MICROELECTRONICS CO. Facsimile: (512) 542-8612
 LTD.                        Email: hpreston@velaw.com
                             Email: jhan@velaw.com
                             Email: eshallman@velaw.com
                             Email: mmelancon@velaw.com


                                                11
US 8123116
Case 2:20-cv-00283-JRG Document 93 Filed 07/12/21 Page 12 of 12 PageID #: 3184




                                                Abigail Lubow
                                                California State Bar No. 314396
                                                VINSON & ELKINS L.L.P.
                                                555 Mission Street, Suite 2000
                                                San Francisco, CA 94105
                                                Telephone: (415) 979-6963
                                                Facsimile: (415) 358-5770
                                                Email: alubow@velaw.com

                                                COUNSEL FOR PLAINTIFFS JAPAN
                                                DISPLAY INC. and PANASONIC LIQUID
                                                CRYSTAL DISPLAY CO., LTD.




                               CERTIFICATE OF SERVICE

       I hereby certify that on July 12, 2021, a true and correct copy of the foregoing document

was electronically filed in compliance with Local Rule CV-5(a) and was served on all counsel who

are deemed to have consented to electronic service, per Local Rule CV-5(a)(3).


                                                /s/ Eric J. Klein
                                                Eric J. Klein




                                              12
US 8123116
